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                   IN THE UNITED STATES DISTRICT COURT FOR THE
                          NORTHERN DISTRICT OF ILLINOIS

                                          )
              USA                         )             Case No:       19 CR 573-1
                                          )
              v.                          )
                                          )             Judge:         Edmond E. Chang
              Robert S. Waksmundzki       )
                                          )
                                          )
                                          )

                                          ORDER

Pursuant to the amended judgment and commitment order, Defendant shall be released forthwith.



Date: June 26, 2020                              /s/Edmond E. Chang
                                                 U.S. District Judge
